Dear Secretary Carnahan:
This opinion letter responds to your request dated December 17, 2009, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Marc Ellinger (version 5) regarding a proposed amendment to Chapter 92, Revised Statutes of Missouri. The proposed summary statement is as follows:
  Shall Missouri law be amended to:
    • repeal the authority of certain cities to use earnings taxes to fund their budgets;
    • require voters in cities that currently have an earnings tax to approve continuation of such tax at the next general municipal election and at an election held every 10 years thereafter;
    • require any current earnings tax that is not approved by the voters to be phased out over a period of 10 years; and
    • prohibit any city from adding a new earnings tax to fund their budget? *Page 2 
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                                         Very truly yours, _________________ Chris Koster Attorney General